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                                                                               8

                                                                               9                                   UNITED STATES DISTRICT COURT
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                                                                              10                               NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO, CALIFORNIA 94111-3711
                                       ONE EMBARCADERO CENTER, 22ND FLOOR




                                                                              11

                                                                              12 LULULEMON ATHLETICA CANADA                             Case No. 3:19-cv-03581
                                                                                 INC., a Canadian corporation,
                                                                              13                                                        COMPLAINT FOR DAMAGES AND
LAW OFFICES




                                                                                               Plaintiff,                               INJUNCTIVE RELIEF FOR:
                                                                              14
                                                                                        v.                                              1. FEDERAL TRADEMARK
                                                                              15                                                        INFRINGEMENT;
                                                                                 ROSS STORES, INC. dba DD’S                             2. FEDERAL TRADEMARK
                                                                              16 DISCOUNTS, a Delaware corporation; and,                COUNTERFEITING;
                                                                                 IOPA, INC. dba IMPULSE OFF PRICE                       3. FEDERAL UNFAIR COMPETITION;
                                                                              17 APPAREL, a California corporation,                     AND,
                                                                                                                                        4. CALIFORNIA UNFAIR
                                                                              18                     Defendants.                        COMPETITION

                                                                              19                                                        DEMAND FOR JURY TRIAL

                                                                              20

                                                                              21            Plaintiff lululemon athletica canada inc. (“lululemon”) hereby complains and alleges
                                                                              22 against Defendants Ross Stores, Inc., doing business as dd’s DISCOUNTS (“Ross Stores”), and

                                                                              23 IOPA, Inc. doing business as Impulse Off Price Apparel (“IOPA” and together with Ross Stores,

                                                                              24 “Defendants”) as follows:

                                                                              25                                             INTRODUCTION
                                                                              26            1.       Defendants are engaged in the unlawful importation and resale of significant
                                                                              27 quantities of counterfeit “lululemon” branded products at wholesale or significantly discounted

                                                                              28 prices through retail stores and wholesalers around the United States. These counterfeit sales have

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                                                                               1 resulted in consumer confusion and significantly harmed lululemon and the consumer goodwill

                                                                               2 associated with the lululemon brand.

                                                                               3            2.       lululemon is a leading designer and retailer of high-quality, yoga-inspired athletic

                                                                               4 apparel. For many years, lululemon has developed, manufactured, and sold its premium apparel,

                                                                               5 including shirts, shorts, pants, and leggings, bearing lululemon’s distinctive trademarks.

                                                                               6 lululemon has invested substantial effort and resources to promote its marks and, as a result,

                                                                               7 consumers recognize and rely upon lululemon’s marks as signifiers of lululemon’s high-quality

                                                                               8 products.

                                                                               9            3.       lululemon brings this Action to put a stop to Defendants’ unlawful and infringing
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                                                                              10 conduct and to recover fully for the monetary damages and significant harm to lululemon’s brand
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                                                                              11 and reputation caused by Defendants.

                                                                              12                                                  PARTIES

                                                                              13            4.       Plaintiff lululemon is a Canadian corporation with a principal place of business in
LAW OFFICES




                                                                              14 Vancouver, British Columbia, Canada. lululemon’s athletic apparel products are available

                                                                              15 throughout the United States online and through retail stores, including through multiple stores in

                                                                              16 this District.

                                                                              17            5.       Upon information and belief, Defendant Ross Stores is a Delaware corporation

                                                                              18 with a principal place of business in Dublin, California. Ross Stores operates discount stores—

                                                                              19 including stores under the name dd’s DISCOUNTS—in this District, claiming to offer bargain

                                                                              20 prices for name-brand products.

                                                                              21            6.       Upon information and belief, Defendant IOPA is a California corporation with a

                                                                              22 principal place of business in Los Angeles, California. lululemon is informed and believes, and on

                                                                              23 that basis alleges, that IOPA supplies Ross Stores with athletic apparel, including apparel that

                                                                              24 Ross Stores sold in this District.

                                                                              25                                       JURISDICTION AND VENUE

                                                                              26            7.       This Action arises under the Lanham Act, 28 U.S.C. §§ 1051 et seq, and this Court

                                                                              27 has subject matter jurisdiction over this Action under 28 U.S.C. §§ 1331 and 1338.

                                                                              28

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                                                                               1            8.       This Court has supplemental jurisdiction over the pendent state law claims under

                                                                               2 28 U.S.C. § 1367 because these claims are so related to lululemon’s claims under federal law that

                                                                               3 they form part of the same case or controversy and derive from a common nucleus of operative

                                                                               4 facts.

                                                                               5            9.       This Court has personal jurisdiction over Ross Stores because it resides in this

                                                                               6 District and because it has engaged in business activities in this District, directed business

                                                                               7 activities at this District, and committed acts with the knowledge that the effects of those acts

                                                                               8 would be felt by lululemon in this District.

                                                                               9            10.      This Court has personal jurisdiction over IOPA because it has engaged in business
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                                                                              10 activities in this District, directed business activities at this District, and committed acts with the
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                                                                              11 knowledge that the effects of those acts would be felt by lululemon in this District.

                                                                              12            11.      Venue is proper under 28 U.S.C. § 1391(b)(1) because Ross Stores resides in this

                                                                              13 District and both Ross Stores and IOPA reside in California, the state in which this District is
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                                                                              14 located. Venue is also proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

                                                                              15 events or omissions giving rise to lululemon’s claims occurred in this District.

                                                                              16                                     INTRADISTRICT ASSIGNMENT

                                                                              17            12.      This is an intellectual property action and therefore is properly assignable on a

                                                                              18 district-wide basis per N.D. Cal. Civil Local Rule 3-2(c).

                                                                              19                                        FACTUAL ALLEGATIONS

                                                                              20                                      lululemon’s Business and Marks

                                                                              21            13.      lululemon is a yoga-inspired athletic apparel company that was founded in

                                                                              22 Vancouver, British Columbia, Canada in 1998, and which expanded into the U.S. market in or

                                                                              23 around 2001. lululemon sells many high-quality products, including clothing and athletic apparel,

                                                                              24 as well as other products such as yoga mats, bags, and accessories. lululemon products are

                                                                              25 designed to offer performance, fit, and comfort while incorporating both function and style, which

                                                                              26 allows lululemon to address the needs of athletes and of consumers who desire everyday casual

                                                                              27 wear that is consistent with their active lifestyles. In the United States and around the world, the

                                                                              28 lululemon brand has come to symbolize premium athletic apparel with innovative designs.

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                                                                               1            14.      Authentic lululemon products are sold exclusively through lululemon’s retail

                                                                               2 stores, the lululemon website (www.lululemon.com), lululemon’s outlet stores, and through

                                                                               3 strategic partners such as premium yoga studios, gyms, and wellness centers. In the athletic

                                                                               4 apparel industry, it is well known that lululemon does not sell its products to or through discount

                                                                               5 apparel stores.

                                                                               6            15.      lululemon’s trademarks are critical to its business. lululemon is the owner of, and

                                                                               7 has widely promoted, several trademarks which have earned substantial fame and considerable

                                                                               8 goodwill among the public. lululemon has used its trademarks (collectively, the “lululemon

                                                                               9 Marks”) on and in association with its entire line of athletic apparel and accessories, as well as in
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                                                                              10 connection with packaging, retail store services, and online e-commerce. lululemon products
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                                                                              11 always include at least one of the lululemon Marks.

                                                                              12            16.      lululemon has caused several trademarks to be registered on the Principal Register

                                                                              13 of the U.S. Patent and Trademark Office in connection with a range of athletic apparel and
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                                                                              14 accessories, and lululemon owns all rights, title, and interest in numerous federal trademark

                                                                              15 registrations, including at least:

                                                                              16    U.S. Reg. No.                  Mark                     Reg. Date            Relevant Goods
                                                                                      4391115                   LULULEMON                   8/27/2013   Clothing, namely, t-shirts, shirts,
                                                                              17                                                                        tank tops, sweatshirts, sweaters,
                                                                                                                                                        jerseys, jumpers, pants,
                                                                              18                                                                        sweatpants, shorts, skirts,
                                                                                                                                                        dresses, jackets, coats, vests,
                                                                              19                                                                        underwear, socks, warm-up
                                                                                                                                                        suits, bodysuits, leotards, tights,
                                                                              20                                                                        leggings, leg warmers;
                                                                                                                                                        headwear, namely, hats, caps,
                                                                              21                                                                        toques, visors, headbands,
                                                                                                                                                        bandanas; clothing accessories,
                                                                              22                                                                        namely, belts, scarves, shawls,
                                                                                                                                                        shoulder wraps, arm warmers,
                                                                              23                                                                        mittens, gloves; sandals
                                                                              24

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                                                                               1    U.S. Reg. No.              Mark                   Reg. Date          Relevant Goods
                                                                                      4367598                                         7/16/2013 Clothing, namely, t-shirts, shirts,
                                                                               2                                                                tank tops, sweatshirts, sweaters,
                                                                                                                                                jerseys, jumpers, pants,
                                                                               3                                                                sweatpants, shorts, skirts,
                                                                                                                                                dresses, jackets, coats, vests,
                                                                               4                                                                underwear, socks, warm-up
                                                                                                                                                suits, bodysuits, leotards, tights,
                                                                               5                                                                leggings, leg warmers;
                                                                                                                                                headwear, namely, hats, caps,
                                                                               6                                                                toques, visors, headbands,
                                                                                                                                                bandanas; clothing accessories,
                                                                               7                                                                namely, belts, scarves, shawls,
                                                                                                                                                shoulder wraps, arm warmers,
                                                                               8                                                                mittens, gloves; sandals
                                                                                        2607811                                       8/13/2002 Clothing, namely, pants, shirts, t-
                                                                               9                                                                shirts, shorts, sweatshirts,
                                                                                                                                                sweatpants, socks, jackets, coats,
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                                                                              10                                                                hats
                                                                                        2460180                                       6/12/2001 Clothing, namely, pants, shirts, t-
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                                                                              11                                                                shirts, shorts, sweatshirts,
                                                                                                                                                sweatpants, socks, jackets, coats,
                                                                              12                                                                hats
                                                                              13
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                                                                              14
                                                                                        4345516                                       6/4/2013    Clothing, namely, t-shirts, shirts,
                                                                              15                                                                  tank tops, sweatshirts, sweaters,
                                                                                                                                                  jerseys, jumpers, pants,
                                                                              16                                                                  sweatpants, shorts, skirts,
                                                                                                                                                  dresses, jackets, coats, vests,
                                                                              17                                                                  underwear, socks, warm-up
                                                                                                                                                  suits, bodysuits, leotards, tights,
                                                                              18                                                                  leggings, leg warmers;
                                                                                                                                                  headwear, namely, hats, caps,
                                                                              19                                                                  toques, visors, headbands,
                                                                                                                                                  bandanas, belts, scarves, shawls,
                                                                              20                                                                  shoulder wraps, arm warmers,
                                                                                                                                                  mittens, gloves
                                                                              21        5393854                                       2/6/2018    Clothing, namely, tights, pants,
                                                                                                                                                  leggings
                                                                              22

                                                                              23

                                                                              24

                                                                              25

                                                                              26

                                                                              27                     (the “Upside-Down U Seam”)
                                                                              28

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                                                                               1            17.      The above registrations are valid, subsisting, and in full force and effect.

                                                                               2 Furthermore, Registration Nos. 2607811, 2460180, 4214049, and 4391115 are incontestable

                                                                               3 pursuant to 15 U.S.C. § 1065.

                                                                               4            18.      The lululemon Marks have been used exclusively and continuously by lululemon

                                                                               5 and its subsidiaries, some since at least as early as 1998, and have never been abandoned.

                                                                               6            19.      lululemon has also expended significant resources and effort to develop and

                                                                               7 promote public recognition of the lululemon trade name and the family of lululemon-related marks

                                                                               8 throughout the world. As a result of lululemon’s extensive promotional efforts and its continuous

                                                                               9 use of its core lululemon Marks for more than 20 years, lululemon has attained one of the highest
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                                                                              10 levels of brand recognition. As a result of lululemon’s longstanding and widespread use and
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                                                                              11 promotion of the lululemon Marks, lululemon’s customers worldwide have come to rely upon

                                                                              12 lululemon Marks to identify lululemon’s high-quality goods and services.

                                                                              13                            Defendants’ Sale of Counterfeit lululemon Products
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                                                                              14            20.      Defendants imported, advertised, distributed, and sold at least thousands of

                                                                              15 counterfeit lululemon products to consumers and retailers. This unlawful conduct was either

                                                                              16 knowing and intentional, or was undertaken with willful blindness to the counterfeit nature of

                                                                              17 these products.

                                                                              18            21.      Importation of Counterfeit “lululemon” Products. Upon information and belief,

                                                                              19 at some point prior to March 2019, Defendant IOPA imported thousands of athletic leggings

                                                                              20 bearing counterfeit reproductions and spurious designations identical to or substantially

                                                                              21 indistinguishable from the lululemon Marks, including the “lululemon” word mark (U.S. Reg. No.

                                                                              22 2607811), the lululemon wave design mark (U.S. Reg. No. 2460180), and the Upside-Down U

                                                                              23 Seam mark (U.S. Reg. No. 5393854).

                                                                              24            22.      Sale of Counterfeit “lululemon” Products to Consumers Through dd’s

                                                                              25 DISCOUNTS Stores. Ross Stores operates discount stores—including stores under the name dd’s

                                                                              26 DISCOUNTS—that claim to offer bargain prices for name-brand products. A number of dd’s

                                                                              27 DISCOUNTS stores distributed and sold counterfeit lululemon-branded leggings (the “Counterfeit

                                                                              28 Products”), which prominently feature lululemon Marks on the product tags, including the

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                                                                               1 “lululemon” word mark (U.S. Reg. No. 2607811), the lululemon wave design mark (U.S. Reg. No.

                                                                               2 2460180), as shown in the examples below:

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                                                                              13 Moreover, the tags replicate the design of authentic lululemon tags and state that the Counterfeit
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                                                                              14 Products were “Designed in Vancouver,” where lululemon is headquartered. The Counterfeit

                                                                              15 Products also feature lululemon’s registered Upside-Down U Seam (U.S. Reg. No. 5393854), or

                                                                              16 confusingly similar versions of the Upside-Down U Seam, in its product design, and resemble

                                                                              17 lululemon’s All The Right Places Pant and Fast and Free Tight.

                                                                              18            23.      In March 2019, lululemon purchased 20 Counterfeit Products from dd’s
                                                                              19 DISCOUNTS stores in San Leandro, California and Hawthorne, California for $7.99 each.

                                                                              20 Genuine versions of the lululemon All The Right Places Pant and Fast and Free Tight sell for $128

                                                                              21 each. lululemon analyzed the Counterfeit Products and determined that they were among the

                                                                              22 lowest-quality counterfeit leggings that lululemon had ever encountered. Most noticeably,

                                                                              23 whereas lululemon’s All The Right Places Pant II and Fast & Free Tights are made with

                                                                              24 lululemon’s smooth, four-way stretch Full-On Luxtreme fabric and lululemon’s Nulux quick-

                                                                              25 drying, sweat-wicking fabric, respectively, the Counterfeit Products were made of thin, cheap

                                                                              26 polyester blends and were not constructed with the high-quality details found in genuine

                                                                              27 lululemon products.

                                                                              28

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                                                                               1            24.      Ross Stores purchased thousands of these Counterfeit Products from IOPA. Upon

                                                                               2 information and belief, Ross Stores and its buyers were aware of and had knowledge of the

                                                                               3 lululemon brand, the design and quality of lululemon products, and the lululemon Marks.

                                                                               4 Nevertheless, Ross Stores purchased and resold the Counterfeit Products at prices so far below

                                                                               5 lululemon’s retail prices that it either knew or was willfully blind to the fact that the products were

                                                                               6 counterfeit. Specifically, while lululemon’s All The Right Places Pant II and Fast & Free Tight

                                                                               7 sell for $128 each, Ross Stores sold the Counterfeit Products to consumers for $7.99 each, and of

                                                                               8 course, had to receive an even lower price from IOPA. Ross Stores also either knew or was

                                                                               9 willfully blind to the fact that the products were counterfeit, due to the obvious difference in
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                                                                              10 quality between the Counterfeit Products and authentic, premium lululemon products. Ross Stores
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                                                                              11 also knew or was willfully blind to the fact that the products were counterfeit because it is well

                                                                              12 known that lululemon products are sold exclusively through lululemon’s retail stores, the

                                                                              13 lululemon website, lululemon’s outlet stores, and through strategic partners such as premium yoga
LAW OFFICES




                                                                              14 studios, gyms, and wellness centers.

                                                                              15            25.      Similarly, upon information and belief, IOPA and its buyers were aware of and had

                                                                              16 knowledge of the lululemon brand, the design and quality of lululemon products, and the

                                                                              17 lululemon Marks. Nevertheless, IOPA purchased and sold the Counterfeit Products at prices so

                                                                              18 far below lululemon’s retail prices that it knew or was willfully blind to the fact that the products

                                                                              19 were counterfeit. IOPA also knew or was willfully blind to the fact that the products were

                                                                              20 counterfeit due to the difference in quality between the Counterfeit Products and authentic,

                                                                              21 premium lululemon products. IOPA also knew or was willfully blind to the fact that the products

                                                                              22 were counterfeit because it is well known that lululemon products are sold exclusively through

                                                                              23 lululemon’s retail stores, the lululemon website, lululemon’s outlet stores, and through strategic

                                                                              24 partners such as premium yoga studios, gyms, and wellness centers.

                                                                              25            Consumer Confusion Caused by Defendants’ Sale of the Counterfeit Products

                                                                              26            26.      The Counterfeit Products sold by Defendants are of a quality substantially and

                                                                              27 materially inferior to that of lululemon’s genuine goods. As alleged in more detail above,

                                                                              28 Defendants are actively using, promoting, and otherwise advertising, distributing, selling and/or

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                                                                               1 offering for sale substantial quantities of counterfeit “lululemon” branded goods with the intent

                                                                               2 that such goods will be mistaken for the genuine high quality goods offered for sale by lululemon,

                                                                               3 despite Defendants’ knowledge that it does not have authority to use the lululemon Marks. As a

                                                                               4 result of Defendants’ activities, there is a high likelihood of confusion between the Counterfeit

                                                                               5 Products sold by Defendants on the one hand, and lululemon genuine products on the other hand.

                                                                               6            27.      Not only are consumers likely to be confused by Defendants’ use of the lululemon

                                                                               7 Marks, but consumers have actually been confused. Even without the benefit yet of discovery,

                                                                               8 lululemon has found evidence of actual consumer confusion and brand/reputational harm to

                                                                               9 lululemon from consumers who have recently complained about the products sold by Defendants.
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                                                                              10            28.      lululemon identified social media posts indicating consumers actually believed they
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                                                                              11 purchased authentic “lululemon” pants at dd’s DISCOUNTS, including for example:

                                                                              12           dd’s DISCOUNT customer @lezlies_closet wrote: “I bought defective LuLuLemon
                                                                                            leggings at DD's Discount 😭.” In the video posted to Instagram @lezlies_closet states
                                                                              13
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                                                                                            “They are originals. Definitely.”
                                                                              14

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                                                                              16

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                                                                              26            29.      In addition, the quality of the counterfeiting was so bad, that lululemon identified
                                                                              27 additional social media posts indicating some consumers recognized that that pants offered for sale

                                                                              28 by dd’s DISCOUNTS were fakes, including for example:

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                                                                               1           Instagram user @thriftnfind_ wrote: “Wow DD Discount you are selling fake Lululemon.
                                                                                            There was multiple fake Lululemon with the cheapest fabric and nothing even remotely
                                                                               2            similar to a real Lululemon. One even had the China sticker with writing....”
                                                                               3

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                                                                              15            30.      The harm to lululemon’s brand and goodwill caused by Defendants’ conduct is
                                                                              16 ongoing, as the negative reviews continue to mount, and confirm the confusion and

                                                                              17 disappointment caused to consumers due to the inferior quality of the counterfeit “lululemon”

                                                                              18 branded goods sold by Defendants.

                                                                              19            31.      Accordingly, Defendants’ use of the lululemon Marks is not only likely to cause
                                                                              20 consumer confusion, it has caused actual confusion or mistake, and deceived consumers into

                                                                              21 believing there is an affiliation, connection, or association between lululemon and Defendants, and

                                                                              22 has confused members of the public as to the origin, sponsorship, authorization, and/or approval

                                                                              23 by lululemon of Defendants’ “lululemon” branded product sales. lululemon expects discovery to

                                                                              24 reveal further evidence of such actual confusion. In addition to monetary damages to Plaintiff,

                                                                              25 Defendants’ unlawful actions have caused irreparable harm to Plaintiff’s brand and reputation, as

                                                                              26 to which there is no adequate remedy at law.

                                                                              27

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                                                                               1                                       FIRST CAUSE OF ACTION
                                                                                                                     Federal Trademark Infringement
                                                                               2                                          15 U.S.C. § 1114(1)(a)
                                                                                                                         Against All Defendants
                                                                               3

                                                                               4            32.      lululemon incorporates by reference each of the allegations in the preceding

                                                                               5 paragraphs of this Complaint as though fully set forth herein.

                                                                               6            33.      lululemon owns established trademark rights in the lululemon Marks, which are

                                                                               7 federally registered in the United States. The registrations for the lululemon Marks are valid and

                                                                               8 subsisting and Registration Nos. 2607811, 2460180, and 4391115 are incontestable.

                                                                               9            34.      The lululemon Marks are distinctive and/or have acquired distinctiveness, and
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                                                                              10 serve as source-identifiers for lululemon’s premium athletic apparel among consumers.
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                                                                              11            35.      Defendants knew or had reason to know of the lululemon Marks and lululemon’s

                                                                              12 rights to the exclusive use of the same.

                                                                              13            36.      Nevertheless, Defendants used, and are continuing to use, marks that are identical
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                                                                              14 or confusingly similar to the lululemon Marks in connection with the sale, offering for sale,

                                                                              15 distribution, or advertising of athletic apparel in interstate commerce in a manner that has, and is

                                                                              16 likely to continue to, cause confusion, mistake, or to deceive, and to diminish the value of the

                                                                              17 lululemon brand.

                                                                              18            37.      Defendants are not, and have never been, authorized by lululemon to use the

                                                                              19 lululemon Marks on or in connection with any goods.

                                                                              20            38.      Defendants’ actions have caused, and are likely to continue to cause confusion,

                                                                              21 mistake, and deception as to the origin, source, sponsorship, approval, and/or affiliation of

                                                                              22 Defendants’ products with lululemon’s products.

                                                                              23            39.      Upon information and belief, Defendants’ conduct is willful, deliberate, intentional,

                                                                              24 and in bad faith, constituting exceptional circumstances under the Lanham Act.

                                                                              25            40.      Defendants’ unauthorized use of the lululemon Marks constitutes willful trademark

                                                                              26 infringement of the lululemon Marks in violation of the Lanham Act, 15 U.S.C. § 1114(1)(a),

                                                                              27 damaging lululemon in an amount to be proven at trial.

                                                                              28

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                                                                               1            41.      Defendants’ infringing conduct has directly and proximately caused substantial,

                                                                               2 irreparable injury to lululemon and to the business and goodwill represented by the lululemon

                                                                               3 Marks, and unless enjoined will continue to do so, leaving lululemon without an adequate remedy

                                                                               4 at law.

                                                                               5                                      SECOND CAUSE OF ACTION
                                                                                                                     Federal Trademark Counterfeiting
                                                                               6                                           15 U.S.C. § 1114(1)(b)
                                                                                                                          Against All Defendants
                                                                               7

                                                                               8            42.      lululemon incorporates by reference each of the allegations in the preceding

                                                                               9 paragraphs of this Complaint as though fully set forth herein.
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                                                                              10            43.      Defendants have publicly advertised, sold, offered to sell, and distributed
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                                                                              11 counterfeit lululemon products in interstate commerce in direct competition with lululemon and

                                                                              12 without authorization or consent to use the lululemon Marks.

                                                                              13            44.      Defendants’ products reproduce, counterfeit, copy, and colorably imitate the
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                                                                              14 lululemon Marks or display a spurious designation that is identical with, or substantially

                                                                              15 indistinguishable from, the lululemon Marks. Defendants’ reproductions, counterfeits, copies, and

                                                                              16 colorable imitations of the Lululeon Marks are applied to labels used in connection with the sale

                                                                              17 or offering for sale of Defendants’ products and have caused and will continue to cause consumer

                                                                              18 confusion, mistake, or deception.

                                                                              19            45.      Upon information and belief, Defendants knew or had reason to know of the

                                                                              20 lululemon Marks and lululemon’s rights to the exclusive use of the same and their actions were

                                                                              21 conducted intentionally with complete disregard to lululemon’s rights. Accordingly, Defendants’

                                                                              22 actions constitute willful counterfeiting of the lululemon Marks in violation of the Lanham Act, 15

                                                                              23 U.S.C. § 1114(1)(b), entitling lululemon to treble damages and/or enhanced statutory damages

                                                                              24 under 15 U.S.C. §§ 1117(b) and (c).

                                                                              25            46.      Upon information and belief, Defendants’ conduct is willful, deliberate, intentional,

                                                                              26 and in bad faith, constituting exceptional circumstances under the Lanham Act.

                                                                              27            47.      Defendants’ conduct has directly and proximately caused lululemon to suffer

                                                                              28 damage to the valuable lululemon Marks, and other damages in an amount to be proved at trial.

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                                                                               1            48.      Defendants’ conduct has caused substantial and irreparable injury to lululemon and

                                                                               2 to the business and goodwill represented by the lululemon Marks, thereby leaving lululemon

                                                                               3 without an adequate remedy at law.

                                                                               4                                       THIRD CAUSE OF ACTION
                                                                                                                        Federal Unfair Competition
                                                                               5                                            15 U.S.C. § 1125(a)
                                                                                                                          Against All Defendants
                                                                               6

                                                                               7            49.      lululemon incorporates by reference each of the allegations in the preceding

                                                                               8 paragraphs of this Complaint as though fully set forth herein.

                                                                               9            50.      Defendants offer for sale and sell infringing products that are designed to appear to
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                                                                              10 be authentic lululemon products, using the lululemon Marks. Defendants’ unauthorized use of the
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                                                                              11 lululemon Marks is likely to cause confusion, deceive, and mislead the consuming public into

                                                                              12 believing that there is some affiliation, connection, or association between Defendants and

                                                                              13 lululemon and is likely to cause confusion, mistake, or deception as to the origin, source,
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                                                                              14 sponsorship, authorization, approval, or affiliation of Defendants’ products.

                                                                              15            51.      Defendants’ actions, including the unauthorized use of the lululemon Marks in

                                                                              16 commerce, constitute false designation of origin, false or misleading descriptions of fact, and false

                                                                              17 or misleading representations of fact, which have caused confusion, mistake, and deception, as to

                                                                              18 Defendants’ products association or affiliation with lululemon, or lack thereof, as well as to the

                                                                              19 origin, source, and sponsorship of Defendants’ products, in violation of the Lanham Act, 15

                                                                              20 U.S.C. § 1125(a).

                                                                              21            52.      Defendants’ conduct has directly and proximately caused lululemon to suffer

                                                                              22 damage to the valuable lululemon Marks, and other damages in an amount to be proved at trial.

                                                                              23            53.      Upon information and belief, Defendants’ conduct is willful, deliberate, intentional,

                                                                              24 and in bad faith, constituting exceptional circumstances under the Lanham Act.

                                                                              25            54.      Defendants’ actions described above, including its unauthorized and misleading use

                                                                              26 of the lululemon Marks in commerce have caused substantial and irreparable injury to lululemon

                                                                              27 and to the business and goodwill represented by the lululemon Marks, thereby leaving lululemon

                                                                              28 without an adequate remedy at law.

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                                                                               1                                     FOURTH CAUSE OF ACTION
                                                                                                                      California Unfair Competition
                                                                               2                                  Cal. Bus. & Prof. Code §§ 17200 et seq.
                                                                               3

                                                                               4            55.      lululemon incorporates by reference each of the allegations in the preceding

                                                                               5 paragraphs of this Complaint as though fully set forth herein.

                                                                               6            56.      Defendants have knowingly, willfully, and unlawfully infringed the lululemon

                                                                               7 Marks, misleading consumers and relying on counterfeit marks and false designations to pass off

                                                                               8 their goods as authentic lululemon products.

                                                                               9            57.      Defendants’ practices constitute unlawful, unfair, and fraudulent business acts
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                                                                              10 under California Business & Professions Code §§ 17200 et seq.
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                                                                              11            58.      As a direct and proximate result of Defendants’ acts, lululemon has suffered

                                                                              12 damages and will continue to suffer irreparable harm, leaving lululemon without an adequate

                                                                              13 remedy at law.
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                                                                              14                                          PRAYER FOR RELIEF

                                                                              15            WHEREFORE, lululemon respectfully prays for the following relief:

                                                                              16            A.       For entry of judgment in favor of lululemon and against Defendants on each of

                                                                              17 lululemons’s claims for relief alleged in this Complaint;

                                                                              18            B.       For an order that Defendants, their agents, servants, employees, and any related

                                                                              19 persons or entities acting in concert with them, be preliminarily and permanently enjoined and

                                                                              20 restrained from unlawfully using and/or counterfeiting the lululemon Marks, or any marks

                                                                              21 confusingly similar to the lululemon Marks;

                                                                              22            C.       For an order requiring Defendants to deliver for destruction any and all products in

                                                                              23 Defendants’ possession that infringe on the lululemon Marks;

                                                                              24            D.       For a determination that Defendants’ acts of trademark infringement and

                                                                              25 counterfeiting constitute cases of willful and exceptional infringement;

                                                                              26            E.       For actual damages as a result of Defendants’ unlawful conduct, alleged above, as

                                                                              27 well as any profits that are attributable to the alleged conduct and are not taken into account in

                                                                              28 computing lululemon’s actual damages;

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                                                                               1            F.       For maximum statutory damages available under the law to the extent lululemon

                                                                               2 elects statutory damages for any claim for relief;

                                                                               3            G.       For reasonable attorneys’ fees to the fullest extent available under the law;

                                                                               4            H.       For treble, exemplary, and/or enhanced damages to the fullest extent available

                                                                               5 under the law;

                                                                               6            I.       For prejudgment interest and the costs of prosecuting these claims to the fullest

                                                                               7 extent available under the law;

                                                                               8            J.       For any additional injunctive, specific performance, and/or other provisional

                                                                               9 remedies, as appropriate; and,
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                                                                              10            K.       For such other and further relief as the Court deems just and proper.
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                                                                              12 DATED: June 20, 2019                            SIDEMAN & BANCROFT LLP

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                                                                                                                                 By:          /s/ Zachary J. Alinder
                                                                              14
                                                                                                                                       Zachary J. Alinder
                                                                              15                                                       Attorneys for Plaintiff
                                                                                                                                       LULULEMON ATHLETICA CANADA INC.
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                                                                               1                                     DEMAND FOR JURY TRIAL

                                                                               2            Pursuant to Federal Rule of Civil Procedure 38 and Civil Local Rule 3-6, Plaintiff

                                                                               3 lululemon demands a trial by jury on all issues so triable.

                                                                               4 DATED: June 20, 2019                         SIDEMAN & BANCROFT LLP

                                                                               5
                                                                                                                              By:          /s/ Zachary J. Alinder
                                                                               6
                                                                                                                                    Zachary J. Alinder
                                                                               7                                                    Attorneys for Plaintiff
                                                                                                                                    LULULEMON ATHLETICA CANADA INC.
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